Case 4:20-cv-00106-TWP-DML Document 23 Filed 08/18/20 Page 1 of 3 PageID #: 161




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

 MONROE COUNTY BOARD OF                       )
 COMMISIONERS, et al.,                        )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                           ) Cause No. 4:20-cv-00106-TWP-DML
                                              )
 UNITED STATES FOREST SERVICE,                )
 et al.                                       )
                                              )
        Defendants.                           )

                         JOINT CASE MANAGEMENT SCHEDULE

        The Plaintiffs have filed this case under the National Environmental Policy Act of 1969

 (NEPA), 42 U.S.C. §§ 4321-4370h, the National Forest Management Act (“NFMA”), 16 U.S.C.

 §§ 472a, 521b, 1600-1614, and the Administrative Procedure Act (“APA”), 5 U.S.C. § 706, so

 the Court will review this case based on the administrative record.   Citizens to Preserve

 Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971).

        On July 17, 2020, the Federal Defendants filed their Answer to Plaintiff’s Complaint and

 lodged the Administrative Record. Under S.D. Ind. Local Rule 16-1, the Parties are exempt

 from the scheduling and planning requirements of Fed. R. Civ.P. 16(b).     The Parties have

 conferred and jointly proposed a schedule for resolving the merits of this case.

        As Plaintiffs’ Complaint noted was likely, ECF No. 1 ¶ 116, Plaintiffs intend to file a

 Supplemental Complaint to include claims under the Endangered Species Act (“ESA”). Plaintiffs

 intend to file a motion under Federal Rule of Civil Procedure 15, requesting the Court’s leave to

 file this Supplemental Complaint. Defendants do not oppose that motion.
Case 4:20-cv-00106-TWP-DML Document 23 Filed 08/18/20 Page 2 of 3 PageID #: 162




        Having considered the Parties’ proposal, the Court hereby adopts that proposal and

 ORDERS that the litigation schedule shall be as follows:

        1.      By August 21, 2020, Plaintiffs shall file a motion under Rule 15 seeking leave to

 file a Supplemental Complaint to include claims under the ESA, and shall include the proposed

 Supplemental Complaint as an attachment to that motion.

        2.      By September 11, 2020, Defendants shall file an Answer to Plaintiffs’

 Supplemental Complaint.

        3.      By October 2, 2020, Defendants shall lodge a Supplemental Administrative

 Record that addresses Plaintiffs’ Supplemental Complaint.

        4.      By November 2, 2020, Plaintiffs shall inform Defendants of any issues with the

 original Administrative Record and the Supplemental Administrative Record, and the Parties

 shall attempt to resolve any disputes regarding the Administrative Record or Supplemental

 Administrative Record informally.

        5.      By November 16, 2020, if the Parties are unable to resolve any disputes regarding

 the original Administrative Record and Supplemental Administrative Record informally,

 Plaintiffs will file any Motion to Supplement the Administrative Record. In the event Plaintiffs

 file any such motion, all subsequent deadlines shall be tolled until the Court resolves that motion.

        6.      If no motion is filed regarding the Administrative Record, Plaintiffs’ Motion for

 Summary Judgment and supporting Brief shall be filed by November 16, 2020.

        7.      Defendants’ Cross Motion for Summary Judgment, Supporting Brief, and

 Response to Plaintiffs’ Motion shall be filed by December 16, 2020.

        8.      Plaintiffs’ Response to Defendants’ Motion and Reply to Defendants’ Response

 shall be filed by January 26, 2021.
Case 4:20-cv-00106-TWP-DML Document 23 Filed 08/18/20 Page 3 of 3 PageID #: 163




        9.     Defendants’ Reply to Plaintiffs’ Response shall be filed by February 9, 2021.

        10.    In light of the complexity of this case, the parties’ briefs shall adhere to the

 following requirements:

                   •   Plaintiffs’ opening summary judgment brief: 45 pages

                   •   Defendants combined cross-motion and response: 45 pages

                   •   Plaintiffs’ combined response and reply: 45 pages

                   •   Defendants’ reply: 30 pages



 It is so ORDERED.

           8/18/2020
 Dated: __________________________                            ______________________________
                                                              Debra McVicker Lynch
                                                              Magistrate Judge
                                                              United States District Court
                                                              Southern District of Indiana

 Service will be made electronically on all ECF-registered counsel of record via email generated
 by the Court’s ECF system.
